       Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 1 of 33




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 W.K., et al.,                            )   Judge Victoria M. Calvert
                                          )
                 Plaintiffs,              )
                                          )
                                          )   Case No. 1:20-cv-05263-VMC
 v.                                       )
                                          )
 Red Roof Inns, Inc., et al.,             )
                                          )
                 Defendants.              )

                   DEFENDANTS’ MOTION & MEMORANDUM
                       IN SUPPORT OF DIRECTED VERDICT
      Defendants Red Roof Inns, Inc., Red Roof Franchising, LLC, and RRI West

Management, LLC, (RRI Defendants) file this Memorandum in support of their

motion to for directed verdict under Rule 50(a).1

I.    LEGAL STANDARD
      “In deciding a motion for judgment as a matter of law, we review all the

evidence, drawing all reasonable inferences in favor of the nonmoving party.”

Hubbard v. BankAtlantic Bancorp, Inc., 688 F.3d 713, 724 (11th Cir. 2012). But

“the nonmovant must put forth more than a mere scintilla of evidence suggesting

that reasonable minds could reach differing verdicts.” Abel v. Dubberly, 210 F.3d




1 RRI Defendants file this memorandum supporting its motion for directed verdict
   that was incorporated fully at the oral motion made on the record at trial on June
   25, 2024. RRI Defendants file this in accordance with the Court’s and the party’s
   agreement.
       Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 2 of 33




1334, 1337 (11th Cir. 2000). A directed verdict under Rule 50 is “proper when the

evidence is so weighted in favor of one side that that party is entitled to succeed in

his or her position as a matter of law.” Rogers v. Sheriff of Santa Rosa Cnty., Fla.,

No. 21-13994, 2023 WL 2566087, at *5 (11th Cir. Mar. 20, 2023) (quoting Thorne

v. All Restoration Servs., Inc., 448 F.3d 1264, 1266 (11th Cir. 2006)).

II.   LAW & ARGUMENT

      A.     There is insufficient evidence of a beneficiary claim under the
             TVPRA.

      The Eleventh Circuit clearly identified the elements of a TVPRA claim. Under

the TVPRA, Plaintiffs must prove it is more likely than not that RRI Defendants:

      (1) knowingly benefited (2) from taking part in a common undertaking
      or enterprise involving risk and potential profit, (3) that the undertaking
      or enterprise violated the TVPRA as to the plaintiff, and (4) that the
      defendant had constructive or actual knowledge that the undertaking or
      enterprise violated the TVPRA as to the plaintiff.
Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714, 719 (11th Cir. 2021) (emphasis added);

see K. H. v. Riti, Inc., No. 23-11682, 2024 WL 505063, at *2 (11th Cir. Feb. 9, 2024).

These elements are specific to each plaintiff and the venture at issue. At the outset,

the RRI Defendants dispute that there is sufficient evidence that all Plaintiffs were

victims of sex trafficking under Section 1591 and that all alleged pimps committed

trafficking under the same statute. But even so, Plaintiffs failed to meet their burden

under Section 1595.




                                          2
       Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 3 of 33




             1.     There is no evidence that RRI Defendants knowingly
                    benefitted from Plaintiffs’ alleged trafficking.

      There is no evidence that RRI Defendants knowingly benefited from

participating in a sex trafficking venture as to Plaintiffs. The TVPRA is clear. To be

liable, a defendant must “knowingly benefit[], . . . financially or by receiving

anything of value from participation in a venture. . . .” 18 U.S.C. § 1595(a)

(emphasis added). The benefit must derive from a defendant’s “participation.” See

Noble v. Weinstein, 335 F. Supp. 3d 504, 524 (S.D.N.Y. 2018). Put simply, the

“benefit” prong has a causation element, and the benefit must come from the venture.

See Does 1-6 v. Reddit, Inc., 51 F.4th 1137, 1145 (9th Cir. 2022). There is

insufficient evidence that any RRI Defendant “knowingly benefited” from

participating in a volitional venture as to each Plaintiff.

      In fact, the only evidence Plaintiffs offered was that (1) RRF and RRI West

received fees, including a fees, that were based on gross room revenue, and (2) RRI

Inc. “ultimately” received revenue from a litany of franchise fees paid by a

franchisee. (Park 83–84; Ex. 338). There is, however, no evidence that any RRI

Defendant received any portion of the Gross Revenues from RRI Buckhead, RRI

Smyrna, or Varahi Smyrna (RRF only), let alone that any RRI Defendant knowingly

received a portion of any money from Plaintiffs’ alleged trafficking. A preexisting

contractual obligation to receive a predetermined fee that simply uses Gross Room

Revenue as a basis for the calculation is not actual knowledge that any RRI

                                           3
       Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 4 of 33




Defendant benefitted from a sex trafficking venture as to Plaintiffs. Plaintiffs fail to

establish this element.

             2.     There is insufficient evidence of participation in a venture.

      A TVPRA claim also requires Plaintiffs to prove RRI Defendants participated

in a venture that engaged in a violation of Section 1591. 18 U.S.C. § 1595(a). A

“venture” is “an undertaking or enterprise involving risk and potential profit.” Doe

#1, 21 F.4th at 724. “Participation” ordinarily means “to take part in or share with

others.” Id. at 725 (participation requires “tak[ing] part in or shar[ing] with others in

common or in an association”); see also G.G. v. Salesforce.com, Inc., 76 F.4th 544,

559 (7th Cir. 2023) (citing Doe v. GTE Corp., 347 F.3d 655, 659 (7th Cir. 2003)

(participation is “a desire to promote the wrongful venture’s success[.]”)).

      Put differently, participation in a venture requires Plaintiffs to “(i) show at

least some connection between the [Defendants] and the trafficker’s actions (the

common venture) and (ii) identify what actions [the Defendants] took to advance the

object of the joint undertaking (participation in the common venture).” G.W. v.

Northbrook Indus. United, LLC, et al., Case No. 1:20-cv-05232, Doc. 148 at 11–12

(June 14, 2024) (Boulee, J.); Doe (S.M.A.) v. Salesforce, Inc., No. 3:23-CV-0915-B,

2024 WL 1337370, at *13 (N.D. Tex. Mar. 28, 2024) (describing the Eleventh

Circuit’s formulation of the test as a “require[ment] that the alleged participant have

an ongoing interest in the success of a specific venture and elect to further the ends

of the venture beyond what would reasonably be expected in an ordinary commercial
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       Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 5 of 33




transaction”); J.C. v. I Shri Khodiyar, LLC, 624 F.Supp.3d 1307, 1317 (N.D. Ga.

2022) (collecting cases). Plaintiffs did not meet this burden.

      The record is clear. Plaintiffs testified that their pimps were the ones that

allegedly trafficked them. Their pimps are the only ones that allegedly violated

Section 1591. No one else. No other entity or person. Thus, to survive directed

verdict, Plaintiffs needed to come forward with evidence that the RRI Defendants

participated in a “common undertaking or enterprise involving risk and potential

profit” with Plaintiffs’ pimps. Doe #1, 21 F.4th at 726 (noting the first step in any

TVPRA inquiry is to determine “the venture [Plaintiff] say[s] that [Defendants]

participated in”). They did not.

      Each Plaintiff testified about their interactions with employees at RRI

Buckhead, RRI Smyrna, and Varahi RRI. When asked, nearly all Plaintiffs testified

that they interacted with housekeeping (asking for towels and cleaning the room)

and front desk (paying for rooms after checking in). These are routine interactions

are common to any hotel stay; not evidence of participation. And references to

employees that engaged as lookouts or engaged in intercourse with an employee are

acting outside the course and scope of employment.

      Plaintiffs cannot staunch this fatality by arguing that renting rooms to

Plaintiffs’ “pimps”—even over a longer time frame—amounts to participation. See

Doe #1, 21 F.4th at 727 (renting a room to a customer, does “nothing to show that


                                          5
       Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 6 of 33




the [hotels] participated in . . . the alleged sex trafficking ventures.”). In fact, the

Eleventh Circuit reaffirmed this principle, holding that a hotel operator financially

benefitting from renting hotel rooms to a trafficker and observing signs of sex

trafficking at the hotel is not enough to support a finding that the hotel operator

participated in a sex trafficking venture. See K.H., 2024 WL 505063, at *3-4. The

Seventh Circuit similarly held that “largely indifferent” commercial relationships

that provide only “off the shelf” services do not “participate” in their customer’s

affairs. See G.G., 76 F.4th at 563–64. Renting rooms is not participation.

      Equally unavailing is any argument that the RRI Defendants participated in a

venture with Plaintiffs’ “pimps” because it monitored reviews relating to prostitution

and sex trafficking, investigated the properties, trained employees on the topics, and

employed employees. This is the opposite of participation. To be sure, the Eleventh

Circuit, and courts throughout the country, have rejected such contentions and

arguments, even at the motion to dismiss phase. In fact, Doe #1 squarely rejected the

theory Plaintiffs advanced at trial, finding the fact that the defendant:

      [I]nvestigated the individual hotels, took remedial action when revenue
      was down, read online reviews mentioning prostitution and crime
      occurring generally at the hotels, and controlled the training of
      managers and employees who were allegedly involved in facilitating
      sex trafficking at the hotels[,]. . . [did not] suggest that the franchisors
      participated in an alleged common undertaking or enterprise with the
      [Plaintiff’s] sex traffickers or others at the hotel who violated the
      statute.”

Doe #1, 21 F.4th at 727.

                                           6
       Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 7 of 33




      Plaintiffs did not—and cannot—introduce evidence that RRI Defendants

participated in a venture. The record shows that RRI Defendants monitored customer

reviews relating to prostitution and sex trafficking, discussed those reviews, trained

and offered training to employees on sex trafficking and prostitution, encouraged

employees to call the police if they witnessed illegal activity, and took many other

steps to address any allegations of sex trafficking and prostitution at RRI Buckhead,

RRI Smyrna, or Varahi Smyrna. And the evidence is even more attenuated as to RRF

because it was the franchisor. As the franchisor, it did not employ any individual at

any property at any relevant time. And there is no vicarious or indirect liability claim

as to RRF. In sum, there is insufficient evidence that RRI Defendants participated

in a venture with Plaintiffs’ pimps. Plaintiffs have not established participation.

             3.     There is insufficient evidence that RRI Defendants knew or
                    should have known they participated in a venture that
                    violated the TVPRA as to Plaintiffs.
      A TVPRA claim requires Plaintiffs to also prove a causal link between their

alleged sex trafficking and the defendant. See H.G. v. Inter-Continental Hotels

Corp., 489 F.Supp.3d 697, 707 (E.D. Mich. 2020); S.J. v. Choice Hotels Int’l, Inc.,

473 F.Supp.3d 147, 153-54 (E.D.N.Y. 2020). In other words, the RRI Defendants

cannot be liable under Section 1595(a) unless they “knew or should have known”

that Plaintiffs’ pimps allegedly trafficked Plaintiffs. Doe #1, 21 F.4th at 726; see also

S.J., 473 F.Supp.3d at 154 (“The real issue is not, then, actual-versus-constructive

knowledge but whether a defendant satisfies the knowledge element as to a
                                   7
       Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 8 of 33




particular sex trafficking venture.”); G.G., 76 F.4th at 555 (noting that in cases of

only one victim, “knowledge of the specific victim goes hand-in-glove with

knowledge of the ‘venture.’”); id. (“allegations that a civil defendant was aware of

sporadic sex trafficking in low-budget hotels generally” is not TVPRA knowledge).

Plaintiffs have not met this burden.

      First, there is no evidence RRI Defendants knew Plaintiffs’ pimps allegedly

trafficked Plaintiffs. In fact, Plaintiffs were clear: they never told anyone at RRI

Buckhead or RRI Smyrna that they were victims of sex trafficking. Nor was there

any evidence that any RRI Defendant employee witnessed Plaintiffs alleged
           2
trafficking. There is no evidence that any RRI Defendant had actual knowledge.

      Second, there is no evidence the RRI Defendants “should have known” that

Plaintiffs’ pimps were allegedly trafficking them. Plaintiffs’ theory of constructive

knowledge existing based on “red flags” likewise fails. The generalized “red flags”

Plaintiffs identified were high traffic of “johns” to and from their rooms with an

exterior entrance, Plaintiffs’ appearance (scantily dressed), requests for excessive

towels, and excessive condoms in the rooms. These “red flags”—standing alone—




2
 Whitney testified that an individual pushing what she thought was a laundry cart
saw her being assaulted by her pimp, Aldonte, in 2014 in the hallway at Varahi
Smyrna, but this unnamed individual would have been a Varahi employee—not an
RRI Defendant employee.
                                         8
       Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 9 of 33




are not enough. This is because there is insufficient evidence that any RRI Buckhead

or RRI Smyrna employee witnessed these red flags as to each individual Plaintiff.3

      Plaintiffs cannot fill this gap by citing to general industry knowledge or a

failure to implement policies to stop prostitution and sex trafficking. Neither general

industry awareness, nor RRI Defendants’ alleged failure to prevent trafficking,

standing alone, equates to constructive knowledge that RRI Defendants should have

known Plaintiffs were trafficked through the criminal conduct of their pimps under

the TVPRA. But even so, the evidence shows that RRI Defendants provided active

training on sex trafficking and had policies and procedures in place requiring staff

to report suspicions of prostitution and sex trafficking to the police.

      B.     There is insufficient evidence under O.C.G.A. § 16-14-4(a).
      Under Georgia law, liability may occur “for any person, through a pattern of

racketeering activity or proceeds derived therefrom, to acquire or maintain, directly

or indirectly, any interest in or control of any enterprise, real property, or personal

property of any nature, including money.” O.C.G.A. § 16-14-4(a). A “pattern of

racketeering activity” means “[e]ngaging in at least two acts of racketeering activity

in furtherance of one or more incidents, schemes, or transactions that have the same


3
 And even if they did, there is extensive testimonial evidence that these “red flags”
are also signs of prostitution, which does not violate the TVPRA as to adults. J.B. v.
G6 Hosp., LLC, No. 19-cv-07848-HSG, 2020 WL 4901196, at *11 (N.D. Cal. Aug.
20, 2020) (allegations must “allow courts to infer that motel or hotel employees
should have known that human trafficking was occurring, as opposed to other
criminal conduct, such as prostitution”); see A.B., 484 F.Supp.3d at 941 (same).
                                           9
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 10 of 33




or similar intents, results, accomplices, victims, or methods of commission or

otherwise are interrelated by distinguishing characteristics.” Id. § 16-14-3(4)(A).

      “[R]acketeering activity” is the commission, attempted commission,

solicitation, coercion, or intimidation of another “to commit any crime which is

chargeable by indictment under” Georgia law. Id. § 16-14-3(5)(A). And “[a]ny

person who is injured by reason of any violation of Code Section 16-4-4 shall have

a cause of action” against the violator. Id. § 16-14-6(c).

      The predicate acts at issue are prostitution (O.C.G.A. § 16-6-9), pimping

(O.C.G.A. § 16-6-11); keeping a place of prostitution (O.C.G.A. § 16-6-10), and
                                        4
sexual servitude (O.C.G.A. § 16-5-46). A person commits a crime either directly or

by intentionally aiding, abetting, advising, encouraging, hiring, counseling, or

procuring another to commit the crime. See O.C.G.A. § 16-2-20(b) (emphasis

added). Not only did Plaintiffs not put on any evidence of that the RRI Defendants

committed these acts (because they did not), but Plaintiffs also only pled that the

RRI Defendants committed sexual servitude, kept a place of prostitution, and aided

and abetted pimping and prostitution. No other violations of the law were pled. As

discussed more fully below, there is insufficient evidence of every predicate act.



4
 RRI Defendants note that Plaintiffs under no circumstances can rely on unverified
customer reviews, news articles, police reports, or any other hearsay statement to
prove that any alleged crime occurred. These documents cannot be used to support
directed verdict on this issue.
                                        10
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 11 of 33




             1.    Corporations have a specific standard for crimes.

      Under Georgia law, corporate liability exists only if:

      (1) The crime is defined by a statute which clearly indicates a
      legislative purpose to impose liability on a corporation, and an agent
      of the corporation performs the conduct which is an element of the
      crime while acting within the scope of his office or employment and
      in behalf of the corporation; or

      (2) The commission of the crime is authorized, requested, commanded,
      performed, or recklessly tolerated by the board of directors or by a
      managerial official who is acting within the scope of his employment
      in behalf of the corporation.
O.C.G.A. 16-2-22 Plaintiffs must meet this requirement for each predicate act

alleged. They failed to meet this burden.

             2.    There is insufficient evidence that RRI Defendants
                   committed prostitution or pimping.
      There is no evidence that RRI Defendants themselves committed prostitution

or pimping. Prostitution occurs when a person over 18-years “performs or offers or

consents to perform a sexual act, including, but not limited to, sexual intercourse or

sodomy, for money or other items of value.” O.C.G.A. § 16-6-9. Pimping generally

occurs when a person receives money without consideration based on a pro rata

share. O.C.G.A. 16-6-11. RRI Defendants did not perform any sexual acts for

money, nor did they engage in pimping.

      Nor have Plaintiffs presented evidence that any RRI Defendant intentionally

“aided and abetted” any person in the commission of prostitution or pimping. Aiding



                                            11
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 12 of 33




and abetting requires Plaintiffs to establish that the RRI Defendants intentionally and

“substantially assisted” in the commission of the alleged prostitution.

      There is no evidence of intent to substantially assist in prostitution or pimping.

Rather, the evidence shows that RRI Defendants had policies and procedures in

place telling employees to report illegal activity—including prostitution and

pimping. And there is specifically no evidence as to RRF. As discussed, RRF was

the franchisor, it employed no one at either property. There is no evidence that it

intentionally and substantially assisted in the commission of either of these crimes.

In sum, there is no evidence that any RRI Defendant is a party to any crime of

prostitution or pimping. See DeArmond v. Robles, No. 1:19-CV-4598-MHC, 2022

WL 1131954, at *13 (N.D. Ga. Mar. 11, 2022) (finding a defendant was not a party

to the crime of prostitution because there was no evidence that when he transported

the plaintiff to a hotel, she intended to commit prostitution, and nothing revealed he

“intentionally aided or abetted” the commission of prostitution).

             3.     There is no evidence that RRI Defendants committed sexual
                    servitude.
      There is no evidence that RRI Defendants committed sexual servitude. Under

Georgia law, “sexual servitude” means any sexually explicit conduct or performance

that is induced or obtained through “coercion or force” from a person who is under

the age of 18 years. O.C.G.A. 16-5-46(a)(8)(B). And under the statute in effect at



                                          12
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 13 of 33




the time of Plaintiffs’ alleged trafficking,5 a person commits sexual servitude when

he or she knowingly:

      (1) Subjects an individual to or maintains an individual in sexual
          servitude;
      (2) Recruits, entices, harbors, transports, provides, or obtains by any
          means an individual for the purpose of sexual servitude; or
      (3) Solicits or patronizes by any means an individual to perform
          sexually explicit conduct on behalf of such person when such
          individual is the subject of sexual servitude

O.C.G.A. § 16-5-46(c) (2019).

      Moreover, O.C.G.A.16-5-46(j) sets forth the standard for when a corporation

can be prosecuted, or indicted, under this standard:

      A corporation may be prosecuted under this Code section for an act or
      omission constituting a crime under this Code section only if an agent
      of the corporation performs the conduct which is an element of the
      crime while acting within the scope of his or her office or employment
      and on behalf of the corporation and the commission of the crime was
      either authorized, requested, commanded, performed, or within the
      scope of his or her employment on behalf of the corporation or
      constituted a pattern of illegal activity that an agent of the company
      knew or should have known was occurring.




5
  In July 2019, O.C.G.A. 16-5-46 was amended, and a person can commit sexual
servitude if they knowingly “[b]enefit financially or by receiving anything of value
from the sexual servitude of another.” 2019 Georgia Laws Act 30 (S.B. 158). This
prong has no application here, however, because the statute does not apply
retroactively and cannot be used to prove a crime that did not exist. Deal v. Coleman,
751 S.E.2d 337, 342 (Ga. 2013) (noting that laws do not apply retroactively unless
there is “some clear indication in the statutory text”).
                                           13
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 14 of 33




      There is no evidence that any RRI Defendant engaged in sexual servitude as

to these Plaintiffs. Plaintiffs were clear: their alleged traffickers were their pimps.

No one else. There is no testimony, documentary or otherwise, showing that any

RRI Defendant committed sexual servitude. This is even more definitive as to RRF

and the Smyrna property, and as discussed, Varahi—not RRF—was the owner,

operator, and employer of all individuals at RRI Smyrna. In other words, neither

RRF, nor its employees, worked onsite or had any opportunity to encounter Plaintiffs

or their pimps. This predicate act fails.

             4.     There is insufficient evidence of keeping a place of
                    prostitution.

      There is no evidence that RRI Defendants kept a place of prostitution.

Keeping a place of prostitution occurs when a person (1) has control over the use of

a place that provides “seclusion or shelter” for prostitution and (2) knowingly grants

or permits the use of that place “.” O.C.G.A. § 16-6-10. As to Varahi Smyrna, RRF

did not own, control, or operate it; Varahi did. Similarly, RRF did not own, control,

or operate RRI Buckhead or RRI Smyrna while those properties were corporate

affiliates. Given this, RRF could not keep a place of prostitution.

      Similarly, there is no evidence that any other RRI Defendant kept a place of

prostitution. The reason is straightforward: knowledge of prostitution does not prove

a defendant operated its hotel for the purpose of prostitution. As discussed, the

evidence shows that both hotels have more than 100 rooms. To date, Plaintiffs have

                                            14
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 15 of 33




offered evidence that prostitution may have occurred at this property. The jury has,

however, heard no evidence that any RRI Defendant operated these hotels for the

purpose of prostitution. Notice or awareness that individuals may have been engaged

in this conduct after it happened is not evidence that the RRI Defendants knowingly

granted their hotels for the purpose of prostitution.

      Rather, RRI Defendants must be so involved in the alleged racketeering

activity that it would be considered a perpetrator of the activity. Plaintiffs cannot

show that Defendants were a passive instrument, its only tangential “involvement”

being Plaintiffs differing stays and different times at its hotels. This is not criminal

involvement. There is no evidence that the RRI Defendants engaged in racketeering

activity, and thus Plaintiff’s civil RICO claim fails as a matter of law. See C.C., 2022

WL 467813 (dismissing the plaintiff’s civil RICO claim for failing to plead a

predicate act).

      C.     Plaintiffs’ evidence is not relevant to O.C.G.A. 16-14-4(c).
      O.C.G.A. 16-14-4(c) makes it illegal “for any person to conspire or endeavor

to violate” O.C.G.A. § 16-14-4(a). To violate Section 16-14-4(c), one must either

commit an overt act to “effect the object of” the endeavor or conspiracy or a co-

conspirator must commit such an overt act. See O.C.G.A. § 16-14-4(c)(1)–(2).

Under Georgia law, a person may be found liable for RICO conspiracy “if they

knowingly and willfully join a conspiracy which itself contains a common plan or

purpose to commit two or more predicate acts.” Wylie v. Denton, 746 S.E.2d 689,
                                     15
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 16 of 33




693 (Ga. Ct. App. 2013) (citing Rosen v. Protective Life Ins., 817 F.Supp.2d 1357,

1382 (N.D. Ga. 2011)) (cleaned up).

      And while the agreement to join a conspiracy does not “need not be express,”

there must at least be “a tacit mutual understanding between persons to pursue a

common criminal objective.” Frazier v. State, 826 S.E.2d 361, 364 (Ga. Ct. App.

2019) (quoting Griffin v. State, 751 S.E.2d 773, 775 (Ga. 2013)). The “essence of

conspiracy” is “a common design and conduct which discloses a common design.”

J.C. v. I Shri Khodiyar, LLC, 624 F.Supp.3d 1307, 1324 (N.D. Ga. 2022) (quoting

Waldrip v. State, 482 S.E.2d 299, 309 (Ga. 1997)). Thus, a conspiracy is not just an

agreement to act or an omission from acting. It is an intentional decision by

conspirators to work together to pursue a “criminal objective.”

      The evidence fails this standard. The predicate acts are simple. They include

prostitution, keeping a place of prostitution, and sexual servitude. The only

individuals with whom RRI Defendants could “conspire” with to commit these

crimes include Plaintiffs, Plaintiff’s alleged traffickers, and Varahi itself. Yet none

of the evidence offered establishes that the RRI Defendants “knowingly and

willfully” entered an agreement with any of these individuals—let alone show that

it entered into this agreement with the “common plan” to “commit” prostitution,

pimping, sexual servitude, or keeping a place of prostitution.




                                          16
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 17 of 33




      Instead, Plaintiffs put forth evidence, documents, and testimony, including:

(1) observations of what they believed to be commercial sex on the properties,

(2) statements from former employees, and one special agent, that they observed

what they believed to be commercial sex on the properties, and (3) unverified online

reviews that prostitution and sex trafficking may have occurred. But the fact that

prostitution or sex trafficking may have occurred is not evidence that RRI

Defendants engaged in a conspiracy to commit any crime. Quite the opposite. The

evidence showed that RRI Defendants trained employees on prostitution and sex

trafficking, trained, and advised their employees to call the police if they saw signs

of illegal activity, sent management to the property to observe and talk to employees,

investigated allegations of sex trafficking and prostitution, and trained general

managers to establish relationships with local law enforcement. Taking these steps

is not evidence of a conspiracy. And they are certainly not evidence that any RRI

Defendant engaged in an overt act to further any conspiracy.

      Instead, this evidence speaks to notice and awareness. But notice is not the

standard for a conspiracy. Knowledge, willfulness, and an understanding to pursue

a “common criminal objective” is the standard. These terms have meaning. Doe #1,

21 F.4th at 723–24 (quoting Knowledge, Black’s Law Dictionary (11th ed. 2019)

(“Knowledge” is “[a]n awareness or understanding of a fact or circumstance; a state

of mind in which a person has no substantial doubt about the existence of a fact.”));


                                         17
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 18 of 33




Willful, Black’s Law Dictionary (11th ed. 2019) (“willful” is an act that is

“[v]oluntary and intentional, but not necessarily malicious . . . [t]he term willful is

stronger than voluntary or intentional; it is traditionally the equivalent of malicious,

evil, or corrupt.” (emphasis added)).

      Further, Plaintiffs cannot overcome this evidentiary shortcoming by pointing

to testimony from former employees that they did not receive training on prostitution

or sex trafficking and were not told to call the police. While RRI Defendants dispute

this testimony, standing alone it is not evidence of a conspiracy. Rather, a lack of

training on identifying illegal activity, or a failure to report it when observed is not

an overt act, nor is it evidence that the RRI Defendants agreed with any individual

with the intent to commit two or more predicate acts. This evidence is insufficient.

      Plaintiffs failed to provide evidence that (1) RRI Defendants knowingly and

willfully entered a conspiracy to commit two or more predicate acts and (2) one

member of the conspiracy committed an overt act to further that conspiracy.

      D.     There is insufficient evidence of causation.

      “To establish a valid civil RICO claim, a plaintiff must show that the

defendant violated or conspired to violate Georgia’s RICO Act and that the RICO

violation proximately caused injury to the plaintiff.” Overlook Gardens Props. v.

Orix, USA, LP, 884 S.E.2d 433, 447 (Ga. Ct. App. 2023) (cleaned up); Five Star

Athlete Mgmt. v. Davis, 845 S.E.2d 754, 758 (2020) (citations omitted).


                                          18
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 19 of 33




      This requires a plaintiff to show that his injury “flowed directly from at least

one of the predicate acts.” Najarian Capital v. Clark, 849 S.E.2d 262, 270 (Ga. Ct.

App. 2020) (citation omitted). “This burden is not met where a plaintiff shows

merely that his injury was an eventual consequence of the predicate act or that he

would not have been injured but for the predicate act.” Id.; Hansford v. Veal, 894

S.E.2d 215, 224 (Ga. Ct. App. 2023). When a court evaluates a RICO claim for

proximate cause, the central question is whether the alleged violation led directly to

the plaintiff’s injuries. Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006).

Thus, a plaintiff asserting a RICO claim must allege more than that an act of

racketeering occurred and that she was injured. That is, she must show that her injury

resulted from a predicate act targeted toward her, such that she was the intended

victim. Wylie v. Denton, 746 S.E.2d 689, 694 (Ga. Ct. App. 2013).

      Plaintiffs’ damages are non-economic: guilt, shame, depression, anxiety, and

difficulty forming relationships. A lay person cannot determine whether these

alleged harms are caused by any RICO violation (which RRI Defendants dispute

exists) without expert testimony. To prove causation, Plaintiffs must provide expert

medical testimony. Georgia’s Supreme Court has held that expert evidence is

required to establish causation when the issue involves a medical question. Cowart

v. Widener, 697 S.E.2d 779, 784 (Ga. 2010). A medical question exists when the

existence of a causal link between the defendant’s conduct and Plaintiffs’ injuries


                                         19
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 20 of 33




cannot be determined from common knowledge and experience and instead requires

help from experts with specialized medical knowledge. Id.; Rivera v. Royal

Caribbean Cruises Ltd., 711 F. App’x 952, 954 (11th Cir. 2017) (“When the causal

link between alleged injuries and the incident at issue is not readily apparent to a lay

person, expert medical testimony as to medical causation is typically required.”).

      Thus, “Georgia law is clear that medical causation must come from expert

testimony and must provide a causal connection that is ‘more than a mere chance or

speculation.’” Mann v. Taser Int'l, Inc., 588 F.3d 1291, 1304 (11th Cir. 2009)

(quoting Anthony v. Chambless, 500 S.E.2d 402, 404 (1998)). Whether sex

trafficking at a specific hotel, or prostitution or pimping on a specific occasion can

cause a myriad of non-economic damages including depression or anxiety is beyond

the precept of a lay juror.

      This is true even though Plaintiffs offered expert testimony on both the effect

of sex trafficking and trauma generally because they did not connect these experts

to Plaintiffs. Thus, the general expert testimony is unhelpful to the jury. As Plaintiffs

have repeatedly told this Court—they are only seeking to recover damages resulting

from the conduct at Red Roof. They offer no expert testimony connecting Plaintiffs’

experiences to their alleged injuries at Red Roof. And no witness could show that

any predicate act that occurred at Smyrna or Buckhead was the proximate cause of




                                           20
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 21 of 33




Plaintiffs’ injuries. Plaintiffs were asked how their experiences at Red Roof

“affected them,” but they are not qualified to opine on causation.

      This is especially true when Plaintiffs have extensive history of sexual assault,

drug addiction, and other preexisting events that could be the cause of their alleged

injuries. See Smith v. CSX Transp., Inc., 806 S.E.2d 890, 897 (Ga. Ct. App. 2017)

(citing Brown v. Burlington N. Santa Fe Ry. Co., 765 F.3d 765, 770 (7th Cir. 2014))

(“[i]n particular, for most cumulative trauma injuries, courts follow the general

principle that a layman could not discern the specific cause and thus they have

required expert testimony about causation.”). Other courts have found that PTSD

(although no mention of that exists here), anxiety, and depression are beyond a lay

person’s comprehension and require expert testimony. Taylor v. Shreeji Swami, Inc.,

820 F. App’x 174, 178 (4th Cir. 2020); State Off. of Risk Mgmt. v. Larkins, 258

S.W.3d 686, 691 (Tex. App. 2008). Plaintiffs’ failure to proffer expert testimony on

their damages and causation is fatal.

      E.     Negligence

             1.    Statute of limitations.

      O.C.G.A. § 9-3-33 sets a two-year statute of limitations for personal injury

claims, including negligence. This clock starts to run “when the plaintiff could first

have maintained [an] action to a successful result.” U-Haul Co. of W. Ga. v. Abreu

& Robeson, Inc., 277 S.E.2d 497, 499 (Ga. 1981) (citing Mobley v. Murray Cnty.,

173 S.E. 680 (Ga. 1933)). The statute of limitations began to run when Plaintiffs’
                                         21
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 22 of 33




alleged trafficking occurred. See G.W. v. Northbrook Indus., Inc., No. 1:20-CV-

05232-JPB, 2022 WL 1644923, at *4 (N.D. Ga. May 24, 2022) (plaintiff’s

negligence claim was time-barred when filed more than two years after the alleged

trafficking). Buckhead Plaintiffs alleged trafficking took place from 2009 to April

2018. Any claim had to be filed no later than April 2020. Similarly, the Smyrna

Plaintiff at issue, Melanie, alleges her trafficking took place between 2010-2012.

Her claim had to be filed by 2014. All Plaintiffs filed December, 29 2020.

      And O.C.G.A. § 9-3-99 does not toll Plaintiff’s claims, let alone toll her

claims for six years. Rather, O.C.G.A. § 9-3-99 tolls tort claims arising from

criminal activity while the underlying crime is being prosecuted, assuming the

prosecution or investigation does not exceed six years. See A.G. v. Northbrook

Indus., Inc., No. 1:20-CV-05231-JPB, 2022 WL 1644921, at *5 (N.D. Ga. May 24,

2022) (“The Court of Appeals of Georgia has held that [O.C.G.A. 9-3-99]

contemplates extending the time in which a victim may file a tort action where there

are pending criminal charges arising out of the same facts or circumstances.”)

(emphasis added); see also Armstrong v. Cuffie, 860 S.E.2d 504, 508 (Ga. 2021)

(stating that the limitation period may be tolled by “active criminal prosecutions.”)

(emphasis added). Establishing any tolling is Plaintiffs’ burden, which they have not

met (or tried to meet). Harrison v. McAfee, 788 S.E.2d 872, 874 (Ga. Ct. App. 2016)

(citation omitted). There is no evidence, other than from Whitney, that any pimp has


                                         22
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 23 of 33




been investigated or is incarcerated for any crime related to Plaintiffs allegations.

The tolling provision fails.

               2.   There is insufficient evidence of negligence.

                    a.     Duty

      Plaintiffs allege that RRI Defendants were negligent under a premises liability

theory. O.C.G.A. § 51-3-1. To recover on premises liability, a plaintiff must present

evidence of a duty, a breach, causation, and damages. Ga. CVS Pharm., LLC v.

Carmichael, 890 S.E.2d 209, 219 (Ga. 2023). Under Georgia law, a premises owner

is liable for the failure to exercise ordinary care in keeping a premises safe when the

individual is an invitee who is on the property for a lawful purpose. O.C.G.A. § 51-

3-1. This duty can include a duty to exercise ordinary care to keep invitees safe from

third-party criminal conduct that is foreseeable. As the Georgia Supreme Court

stated, “[i]f the proprietor has reason to anticipate a criminal act, he or she then has

a duty to exercise ordinary care to guard against injury from dangerous characters.”

Carmichael, 890 S.E.2d at 219 (citing Lau’s Corp. v. Haskins, 405 S.E.2d 474, 492

(Ga. 1991)).

      These duties, however, only apply to invitees. A person is an invitee “[w]here

an owner or occupier of land, by express or implied invitation, induces or leads [the

person] to come upon his premises for any lawful purpose.” On the other hand, a

licensee “is one whose visit is ‘merely for his own interests, convenience, or


                                          23
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 24 of 33




gratification.’” Freeman, 705 S.E.2d at 923 (citing O.C.G.A. § 51–3–2(a)(3);

Behforouz v. Vakil, 636 S.E.2d 674, 675 (Ga. Ct. App. 2006)).

      There is insufficient evidence that Plaintiffs were invitees. Rather, Plaintiffs

admitted they were at the property for the purpose of commercial sex, which is

unlawful. They were not invitees. Given this, the standard under O.C.G.A. § 51-3-1

and Carmichael do not apply. Judge Boulee came to this exact decision just last

week when he granted summary judgment in a sex trafficking claim relating to

negligence. G.W., Case No. 1:20-cv-05232, Doc. 148 (June 14, 2024) (Boulee, J.).

      And the duty articulated in Carmichael only applies to premise owners. RRF

never owned or controlled RRI Buckhead or RRI Smyrna. RRF is the franchisor.

There is no evidence that RRF is vicariously liable for the acts of any other RRI

Defendant. Rather, the Franchise Agreements, Management Agreements, and

testimony makes clear that RRI West, not RRF, operated both properties while

affiliate owned. Thus, Plaintiffs’ that have failed to prove RRI Defendants owed

Plaintiffs a duty as a matter of law and their negligence claim fails.

                    b.    Causation
      Setting duty to one side, Plaintiffs must also establish causation. Here,

Plaintiffs must prove that RRI Defendants’ negligence was both the “cause-in-fact”

and the “proximate cause” of their injury. Blondell v. Courtney Station 300 LLC,

865 S.E.2d 589, 594–95 (Ga. Ct. App. 2021). Cause-in-fact requires that, but for the

defendant’s act, the injury to the plaintiff would not have occurred. See Strength v.
                                           24
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 25 of 33




Lovett, 714 S.E.2d 723, 730 (Ga. Ct. App. 2011) (“To show that the wrongful

conduct of the defendant is a cause in fact of his injuries, a plaintiff ordinarily must

prove that, but for this conduct, he would not have sustained the injury[.]”).

      Plaintiffs have offered no evidence that RRI Defendants’ negligence, or

failure to exercise reasonable care, caused Plaintiffs’ injuries. While they have

presented evidence that RRI Defendants should have done more, they have not

established that but-for or as the result of some act or failure by RRI Defendants that

Plaintiffs would not have been injured. To the contrary, Plaintiffs explained that

nearly all of them returned to their pimp and continued to engage in commercial sex

work. In other words, there is insufficient evidence that “but for” RRI Defendants’

conduct Plaintiffs sustained injury.

      Plaintiffs have also failed to meet their burden on proximate causation. A

breach of a duty constitutes a proximate cause of an injury only if the injury is the

“probable” result of the breach, “according to ordinary and usual experience,” rather

than “merely [a] possible” result of a breach, “according to occasional experience.”

Maynard v. Snapchat, Inc., 870 S.E.2d 739, 746 (Ga. 2022). An intervening

superseding act also cuts off the causal chain. E.g., Williams v. Grier, 26 S.E.2d 698,

704 (Ga. 1943) (quoting S. Ry. Co. v. Webb, 42 S.E. 395, 395 (Ga. 1902)).

      There is no evidence that Plaintiffs’ injury was foreseeable or probable result

of RRI Defendants’ conduct. The criminal acts of third parties— Plaintiffs’ pimps—


                                          25
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 26 of 33




was not foreseeable to RRI Defendants. And Plaintiffs offered no evidence

establishing foreseeability. At most, they put forth evidence that RRI Defendants

had notice of prostitution, trained its employees on the topic, and aimed to identify

and work with the police on identifying and reporting illegal activity. None of the

evidence was specific to Plaintiffs or RRI Defendants. This does not establish

foreseeability or proximate causation.

      Finally, Plaintiffs have not provided expert testimony relating to causation.

RRI Defendants reincorporate and reassert all authorities and arguments in their

argument on causation under RICO as if fully stated. For those same reasons,

Plaintiffs have failed to prove causation as a matter of law on negligence.

                   c.     Damages
      All those failures aside, Plaintiffs have not established damages either. The

general rule in Georgia is that a plaintiff cannot recover for emotional distress

damages owing to a defendant’s negligence unless she has sustained a physical

impact because of such negligence. Snell v. NES Admin. Servs., Inc., No. 1:20-CV-

03693-CC-RDC, 2021 WL 2666879, at *5 (N.D. Ga. Mar. 29, 2021), R. & R.

adopted, 2021 WL 2666877 (N.D. Ga. May 25, 2021). Plaintiffs have not alleged or

offered any evidence relating to a physical impact, let alone one tied to RRI

Defendants’ negligence. Plaintiffs offered no testimony, expert or otherwise, that

would allow a rational juror to determine compensatory damages for the alleged

injuries. Moreover, damages for mental pain and suffering without physical injury
                                       26
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 27 of 33




is available only when a plaintiff shows the injury resulted from willful and wanton

conduct. E.g., Clarke v. Freeman, 692 S.E.2d 80, 84 (Ga. Ct. App. 2010) (“A party

claiming negligent infliction of emotional distress must therefore show a physical

impact resulting in physical injury. On the other hand, where the defendant’s conduct

is malicious, wilful [sic], or wanton, recovery can be had without the necessity of an

impact.”). Beyond this, “willful and wanton” requires “sufficient facts” that shows

a defendant’s conduct “was directed at” the plaintiff. Id. at 84–85. There is no

evidence that any RRI Defendant acted willfully or wantonly to harm Plaintiffs.

Plaintiffs failed to meet their burden on damages.

      F.     Punitive Damages
             1.    Georgia law
      To begin, Plaintiffs are not entitled to punitive damages as a matter of law for

any state-law claim. Georgia law is clear:

      In a tort action in which the entire injury is to the peace, happiness, or
      feelings of the plaintiff, no measure of damages can be prescribed
      except the enlightened consciences of impartial jurors. In such an
      action, punitive damages under Code Section 51-12-5 or Code Section
      51-12-5.1 shall not be awarded.

O.C.G.A. 51-12-6; Carnegay v. Wal-Mart Stores, Inc., 898 S.E.2d 871, 877 (Ga. Ct.

App. 2024), cert. denied, (June 11, 2024) (punitive damages not available for false

imprisonment). Plaintiffs allege non-economic damages for pain and suffering, and

their testimony was clear: alleged damages relate to anxiety, depression, guilt,

shame, and inability to form relationships. Punitive damages are unavailable.
                                         27
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 28 of 33




      But even if they were, there is insufficient evidence of punitive damages.

O.C.G.A. § 51-12-5.1(b) states that “Punitive damages may be awarded only in such

tort actions in which it is proven by clear and convincing evidence that the

defendant's actions showed willful misconduct, malice, fraud, wantonness,

oppression, or that entire want of care which would raise the presumption of

conscious indifference to consequences.” These damages are (1) are awarded “solely

to punish, penalize, or deter,” and (2) may be awarded only if the defendant’s actions

showed a state of mind reflecting some extra degree of culpability, such as “willful

misconduct, malice, fraud, wantonness, oppression, or that entire want of care which

would raise the presumption of conscious indifference to consequences.” O.C.G.A.

§§ 51-12-5.1(b), (c). Punitive damages may not be awarded when the defendant’s

actions sound only in negligence; mere negligence, or even gross negligence, is not

sufficient. Taylor v. Devereux Found., Inc., 885 S.E.2d 671, 683 (Ga. 2023).

      There is insufficient evidence of punitive damages. The evidence makes clear

that RRI Defendants were monitoring reviews, providing training to its employees,

creating policies that required RRI Buckhead and RRI Smyrna to report illegal

activity to the police, and reporting instances of prostitution and illegal activity to

law enforcement. The evidence cannot establish punitive damages under Georgia

law. But if this Court finds there is sufficient evidence for the jury to determine

punitive damages (it should not), RRI Defendants will move for this Court to apply


                                          28
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 29 of 33




the $250,000 cap because there is no evidence that any RRI Defendant acted, or

failed to act, with a specific intent to cause harm. O.C.G.A. § 51-12-5.1(j).

             2.     TVPRA

      Punitive damages are not available under the TVPRA. And while RRI

Defendants acknowledge that the Ninth and Tenth Circuits have held to the contrary,

those courts did so under general tort law principles and the perpetrator provision.

This case is different. It does not involve a perpetrator claim, it involves a beneficiary

claim. RRI Defendants agree with the dissent in Ditullo, the legislative history does

not support punitive damages: “[a] review of the TVPA’s legislative history shows

that far from deferring to federal common law, Congress in 2003, when it created a

private cause of action under TVPA, considered and declined to adopt language

authorizing punitive damages.” Ditullio v. Boehm, 662 F.3d 1091, 1104–05 (9th Cir.

2011) (Callahan, J., dissenting). This view is also supported by principles of

statutory interpretation, which show that Congress understands how to include

punitive damages when it intends to make them available. See, e.g., 18 U.S.C. § 2710

(listing punitive damages); 18 U.S.C. § 2724 (same); 18 U.S.C. § 2707 (same); 18

U.S.C. § 2520 (same); 18 U.S.C. § 2255 (same).

      Moreover, RRI Defendants note that punitive damages are unavailable under

the Supreme Court’s holding in Dutra Group v. Batterton, 588 U.S. 358 (2019).

Batterton set forth a test to determine whether punitive damages were permitted

under federal law. Batterton, 588 U.S. at 369. Under this test, damages are available
                                         29
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 30 of 33




only if: (1) the damages “have traditionally been awarded” for this claim; (2)

“[c]onformity with parallel statutory schemes would require such damages”; or (3)

the court is “compelled on policy grounds” to allow the damages. Id. None of these

prongs have been met.

      But even if punitive damages were available, there is insufficient evidence of

them. Like Georgia, punitive damages under federal law requires evidence that

defendant’s conduct is “outrageous,” owing to “gross negligence,” “willful, wanton,

and reckless indifference for the rights of others,” or behavior even more deplorable.

Exxon Shipping Co. v. Baker, 554 U.S. 471, 493 (2008) (citing Restatement (Second)

of Torts § 908(2)). Recklessness is not enough. As stated, this standard is not met.

      G.     Attorney Fees.
      In addition, there is no evidence that the Plaintiffs met their burden on attorney

fees under O.C.G.A. 13-6-11 beause there is no evidence of bad faith, stubborn

litigation, pr unnecessary trouble and expenses.




                                          30
     Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 31 of 33




Dated: June 25, 2024            Respectfully submitted,


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                                    31
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 32 of 33




               RULE 7.1D CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D) of the United States District Court of the

Northern District of Georgia, the undersigned certifies that the foregoing submission

to the Court was computer-processed, double-spaced between lines, and used Times

New Roman font of 14-point size.


Dated: June 25, 2024
                                          /s/ Marcella C. Ducca
                                          Marcella C. Ducca

                                          Attorney for Defendants Red Roof Inns,
                                          Inc., Red Roof Franchising, LLC, and
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                                         32
      Case 1:20-cv-05263-VMC Document 571 Filed 06/25/24 Page 33 of 33



                         CERTIFICATE OF SERVICE
      The undersigned, an attorney, hereby certifies that on June 25, 2024, a copy

of the above was filed with the United States District Court for the Northern District

of Georgia and served on counsel of record through the Court’s CM/ECF system.


Dated: June 25, 2024
                                          /s/ Marcella C. Ducca
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                                         33
